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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                )      MDL NO. 2804
OPIATE LITIGATION                           )
                                            )      Case No. 1:17-md-2804
THIS DOCUMENT RELATES TO:                   )
                                            )      JUDGE DAN AARON POLSTER
City of Rochester v. Purdue Pharma L.P., )
No. 19-op-45853 (Track 12)                  )
                                            )
Lincoln County v. Richard S. Sackler, M.D., )
No. 20-op-45069 (Track 13)                  )
                                            )
City of Independence, Missouri v. Williams, )
No. 19-op-45371 (Track 14)                  )
                                            )
County of Webb, Texas v. Purdue Pharma, )
L.P., No. 18-op-45175 (Track 15)            )
____________________________________)

 PLAINTIFFS’ AND PEC’S RESPONSE TO EXPRESS SCRIPTS’ PROPOSED BRIEF
    IN SUPPORT OF OPTUMRX’S MOTION TO DISQUALIFY MOTLEY RICE

       Plaintiffs and the PEC hereby respond to the points raised in Defendant Express Scripts,

Inc.’s brief in support of Defendant OptumRX’s motion to disqualify Motley Rice. Express

Scripts’ arguments are meritless. Its “newly discovered evidence”—a subpoena served more than

10 years ago—was served on behalf of an MDL plaintiff for purposes of the opioid litigation that

spawned this MDL. Far from somehow constituting confidential government information, the City

produced Express Scripts’ documents into the repository more than six years ago per this Court’s

direction in CMO-1.

       Nothing about this subpoena supports OptumRx’s flawed Motion to Disqualify. However,

the Express Scripts subpoena underscores the PEC’s argument that Motley Rice attorney Linda

Singer was not a “public officer or employee,” as required by Ohio R. Prof’l Conduct 1.11(c),
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when she was private counsel for the City of Chicago in its civil investigations of opioid marketing,

including by Express Scripts.

       1. Express Scripts’ Production In Response To The City of Chicago’s Subpoena to
          Express Scripts Is Properly Part Of This Proceeding

       Express Scripts cites the City of Chicago’s 2013 subpoena as somehow evidencing

misconduct. The only thing Express Scripts’ argument proves is that it has been in violation of

DR-22 for numerous years, given that Express Scripts failed to produce documents into the MDL

repository as required by that Order. But Express Scripts’ failure is ultimately meaningless because

this Court ordered the City of Chicago to produce all of the information it had from Express Scripts

into the repository, and the City of Chicago did so, nearly six years ago. There can be no complaint

of prejudice arising from Motley Rice’s knowledge of information that was equally known to all

MDL plaintiffs and defendants pursuant to the Court’s order.

       Express Scripts’ submission therefore gives the Court no basis on which to find that the

subpoenaed documents at issue, see ECF 5351-2 (Vanden Heuvel Decl.), ¶ 3, are confidential

government information and/or that Motley Rice could use these documents to Express Scripts’

material disadvantage. See, ECF 5338-1 (ABA Formal Op. 509) at 4 (“Whether government

information is publicly available—e.g., whether it can be obtained through routine discovery—

will be a question of fact. So is the question of whether the information ‘could be used to [the

person’s] material disadvantage.”). Just the opposite, both findings are clearly precluded because

all the subpoenaed documents were produced into the MDL repository almost six years ago.

Pursuant to CMO-1, which ordered production of civil investigation documents, ECF 232 at 15, §

9.k.2, the City of Chicago produced the subpoenaed Express Scripts documents into the MDL

repository as CHI_002327367 – CHI_002328321 on June 8, 2018. See Ex. K (production cover

letter) at 2 (contents of CHI-MDL008 production). The subpoenaed Express Scripts documents


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thus cannot be found to be confidential government information under Rule 1.11(c) when they

were already produced in this litigation “through routine discovery.” ECF 5338-1 (ABA Formal

Op. 509) at 4. Likewise, the Court cannot find that Motley Rice’s access to these documents could

create any material disadvantage to Express Scripts when the documents have been accessible by

all MDL counsel since 2018.1

        Indeed, Express Scripts’ argument would lead to nonsensical results because the City of

Chicago’s case was consolidated into the MDL and therefore part of this very proceeding. There

are no distinct matters here, a fact the Court tacitly recognized when directing the City to produce

its pre-suit investigative productions into the repository.

        2. Express Scripts’ Submission Confirms That Linda Singer Was Not A “Public
           Officer or Employee” Within The Meaning Of Rule 1.11(c)

        Not only are Express Scripts’ underlying arguments flawed, their submission underscores

that Motley Rice attorney Linda Singer was not a “public officer or employee,” as required by

Ohio R. Prof’l Conduct 1.11(c), when she was private counsel for the City of Chicago in its civil

investigations of opioid marketing, including by Express Scripts. Express Scripts argues that Ms.

Singer was a public officer or employee because the City’s cover letter to its subpoena identified

her as “Special Assistant Corporation Counsel.” Brief at 4. Plaintiffs already have shown,

however, that Motley Rice, Ms. Singer, and Ms. Singer’s prior firm (Cohen Milstein Sellers &

Toll, PLLC) were not public officers or employees when representing Chicago in civil



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  In this respect, Express Scripts’ and Optum’s motion submissions present a distinction but no
difference with respect to the lack of evidence of possible material disadvantage. Whereas Express
Scripts’ submission enables Plaintiffs and the Court to determine that all of its documents at issue
were already produced into the MDL, Optum has intentionally withheld this type of information
from Plaintiffs and the Court. See ECF 5341 (Optum Response to Sur-Reply) at 12 n.5 (“OptumRx
has never claimed that none of the documents produced in the investigations were produced in this
MDL.”). Neither submission allows the Court to conclude that either Defendant could be
materially disadvantaged.
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investigations regarding opioids. ECF 5320-4 (Decl. of Stephen J. Kane, Deputy Corporation

Counsel), ¶¶ 3-13.

       Indeed, the U.S. District Court in Chicago’s civil action against opioid manufacturers

expressly held that Ms. Singer and Cohen Milstein were not City employees or officials, but private

contractors, in these representations. City of Chicago v. Purdue Pharma L.P., 2015 WL 920719,

at *3-4 (N.D. Ill. March 2, 2015) (“‘In short, not one of the relevant factors that establish that an

individual is an ‘employee’ for purposes of the [City Ethics] Ordinance is present here. Rather,

the nature of the work being done by [Cohen] and the manner in which the firm is to be

compensated establish that its attorneys are independent contractors under a personal services

contract.’ The Court agrees with the Ethics Board’s reasoning.”) (quoting Chicago Board of Ethics

Advisory Op.); id. at *4 (“Further, the Court rejects defendants’ assertion that Cohen is a City

official for purposes of the Ethics Ordinance. . . . Cohen was neither elected nor appointed to the

City’s Law Department, and thus by the plain language of the Ordinance is not a City Official.”).

Since Ms. Singer and her former firm were not public officers or employees in representing the

City of Chicago, Rule 1.11(c) does not apply to this representation as to Express Scripts or Optum

and the motion to disqualify should be denied.

                                             CONCLUSION

       Express Scripts’ filing takes the disqualification motion to its reductio ad absurdum

conclusion. Motley Rice represents the City of Chicago in MDL2804, which was named as a

“motion track bellwether” in Case Management Order One, ⁋2b (Doc #: 232) (Filed: 04/11/18)

and “all documents … previously produced by any Defendant in City of Chicago v. Purdue Pharma

L.P., Case No. 14-CV-04361 (N.D. Ill.), shall be deemed produced to all Plaintiffs in MDL 2804

[…].” CMO-1, ⁋9.k.1. This is the same the case referenced by Express Scripts.



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       Express Scripts’ position underscores the legal fallacy of the disqualification motion. Ohio

R. Prof’l Conduct 1.11(c) applies to “confidential government information about a person acquired

when the lawyer was a public officer or employee.” The primary factual issue is whether Motley

Rice “was a public officer or employee.” If so, then this Court must make further factual findings

about confidential information, which neither Express Scripts nor OptumRx can or have sustained.

Therefore, the disqualification motion must be denied.



Dated: March 15, 2024                        Respectfully submitted,


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                                CERTIFICATE OF SERVICE
       I hereby certify that on March 15, 2024, I electronically filed the foregoing with the Clerk
of Court by using the CM/ECF system. Copies will be served upon counsel of record by, and may
be obtained through, the Court CM/ECF system.


                                             s/ Peter H. Weinberger
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